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                          Nicholas Marritz




Samuel Datlof           /s/ Samuel Datlof    1/16/2020           PA 324716




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                                        /s/ Samuel Datlof

                                         Samuel Datlof


                                       Counsel for Plaintiffs

                                        4/26/2022
